Case 1:20-cv-24742-BB Document 48 Entered on FLSD Docket 03/29/2021 Page 1 of 4




                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-24742-BLOOM/Otazo-Reyes


 MINDBASEHQ LLC,

                      Plaintiff,

                 v.

 GOOGLE LLC,

                      Defendant.
                                             /

            PLAINTIFF’S UNOPPOSED MOTION TO EXTEND THE DEADLINE
                     TO AMEND PLEADINGS OR JOIN PARTIES

        Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Plaintiff MINDBASEHQ

 LLC (“Mindbase”), by and through its undersigned counsel, files this Motion to Extend the

 Deadline to Amend Pleadings or Join Parties by 14 days, through and including April 12, 2021,

 and states:

       1.         Mindbase instituted this action on November 17, 2020, against Alphabet, Inc., (the

parent company of Google LLC), alleging that Alphabet, Inc., infringed both U.S. Patent Nos.

6,510,433 (the “433 Patent”) and 6,665,680 (the “680 Patent”) (together, the “Patents-in-Suit”). See

ECF No. 1.

       2.         After Mindbase served Alphabet with the Complaint, counsel for Alphabet notified

Mindbase that the proper party should be Google LLC.

       3.         Mindbase filed its First Amended Complaint on January 11, 2021, as a matter of

right, alleging that Google, instead of Alphabet, infringed the Patents-in-Suit. See ECF No. 22, at

¶¶ 19, 23, 35.

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Case 1:20-cv-24742-BB Document 48 Entered on FLSD Docket 03/29/2021 Page 2 of 4



          4.    On January 25, 2021, Google moved to transfer this action to the Northern District

of California pursuant to 28 U.S.C. § 1404(a), and to dismiss this action. See ECF Nos. 25 and 27.

A hearing was held on March 12, 2021, and the motions are pending this Court’s ruling. See ECF

No. 44.

          5.    On January 27, 2021, Google also moved to stay all discovery in this action pending

the Court’s resolution of its motions to transfer and dismiss. See ECF No. 29. This Court denied

Google’s motion to stay. See ECF No. 41.

          6.    On January 29, 2021, this Court entered an Order Setting Trial and Pre-trial

Schedule, permitting the parties to amend pleadings or join parties by March 29, 2021. See ECF

No. 34.

          7.    Mindbase respectfully moves for a brief 14-day extension of the deadline to amend

pleadings or join parties.

          8.    Mindbase’s counsel is aware that the Court’s Order Setting Trial and Pre-trial

Schedule is not to be taken lightly.

          9.    However, the extension is needed in order for the parties to have further meet and

confers to resolve its issues concerning discovery and the pleadings (in the hopes of avoiding

extensive motion practice).

          10.   Specifically, the parties have exchanged discovery requests and responses and have

raised objections related to the scope of the pleadings.

          11.   The parties have had ongoing conferences in attempt to resolve the pending

discovery issues, but need additional time to work out the details.

          12.   Mindbase’s counsel has conferred with Google’s counsel, who does not oppose the

requested extension.

          13.   Federal Rule of Civil Procedure 16(b) provides that a district court may modify a
                                                   2
Case 1:20-cv-24742-BB Document 48 Entered on FLSD Docket 03/29/2021 Page 3 of 4



pre-trial scheduling order upon a showing of good cause. Moreover, Federal Rule of Civil

Procedure 6(b) allows a district court to grant an enlargement of time for an act to be done based

on cause shown.

       14.     Furthermore, this Court has the inherent power to administrate its own proceedings

and grant such an extension. Franquez v. United States, 604 F.2d 1239, 1244 (9th Cir. 1971).

       15.     Mindbase proposes that the deadline to amend the complaint or join parties be

extended for a period of 14-days, to wit: on or before April 12, 2021.

       16.     The granting of this motion will not interfere with the trial date, which is docketed

for February 22, 2022. Additionally, the extension will not cause any deadline to be infringed or

otherwise prejudice Google.

       WHEREFORE, Mindbase, respectfully requests that this Honorable Court grant this Motion

to Extend the Deadline to Amend Pleadings or Join Parties, up to and including April 12, 2021,

along with such other relief this Court deems just and proper. A proposed order is attached hereto

as Exhibit “A,” which will be e-mailed to the Court in Microsoft Word.

                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I HEREBY CERTIFY that prior to filing this Motion to Extend the Deadline to Amend

 Pleadings or Join Parties, counsel for Mindbase conferred with counsel for Google, LLC, via e-

 mail and telephone regarding the relief requested in this motion. Google LLC does not oppose the

 relief requested.

                                             Respectfully submitted,

                                             /s/ Alen H. Hsu____
                                             Alen H. Hsu, Esquire
                                             Florida Bar No. 62495
                                             Anne R. Flanigan
                                             Florida Bar No. 113889
                                             WEISS SEROTA HELFMAN
                                             COLE & BIERMAN, P.L.
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Case 1:20-cv-24742-BB Document 48 Entered on FLSD Docket 03/29/2021 Page 4 of 4



                                         1200 N. Federal Highway
                                         Suite 312
                                         Boca Raton, FL 33432
                                         Telephone: (561) 835-2111
                                         Email: ahsu@wsh-law.com
                                                aflanigan@wsh-law.com

                                         James Iaconis, Esquire*
                                         Texas Bar No. 24080954
                                         Iaconis Law Office
                                         P.O. Box 450473
                                         Miami, FL 33245
                                         Email: james.iaconis@iaconislaw.com


                                         R. Terry Parker, Esquire*
                                         Massachusetts Bar No. 569008         RATH,
                                         YOUNG and PIGNATELLI, P.C.
                                         120 Water Street, Second Floor
                                         Boston, MA 02109
                                         Telephone: (603) 226-2600
                                         Email: rtp@rathlaw.com

                                         Attorneys for Plaintiff MindbaseHQ LLC
                                         *Admitted Pro Hac Vice


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 29th day of March, 2021, a true and correct copy of the

foregoing Motion was electronically filed with the Clerk of Court using CM/ECF on all parties

requesting service.

                                         /s/ Alen H. Hsu____
                                         Alen H. Hsu, Esq.




                                             4
